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       ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


 TIKTOK INC., et al.,
          Petitioners,

                          v.
                                                            Nos. 24-1113, 24-1130,
                                                                   24-1183
 MERRICK B. GARLAND, in his official
  capacity as Attorney General of the United
  States,
            Respondent.



      MOTION TO FILE PORTIONS OF THE RESPONSE BRIEF AND
        THREE DECLARATIONS UNDER SEAL AND EX PARTE

      The government respectfully requests leave to file under seal and ex parte

certain classified record materials, and to file under seal and ex parte a classified

response brief that relies on those record materials for this Court’s in camera

review. The government’s factual response to petitioners’ claims includes

classified information that is protected by law from public disclosure. The

government thus moves for leave to file the response brief and three declarations

under seal and ex parte. Contemporaneous with filing this motion and lodging the

classified materials, the government is filing a public version of those materials

that redacts all classified information. Petitioners have informed us that they

oppose this motion.
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                                  BACKGROUND

      1. On April 24, 2024, the President signed into law the Protecting

Americans from Foreign Adversary Controlled Applications Act, Pub. L. No. 118-

50, div. H, 138 Stat. 895 (2024) (Act). As relevant here, the Act permits the social-

media application TikTok to continue operating in the United States only if its

Chinese parent company ByteDance, Ltd. executes a “qualified divestiture” of its

interest in the platform. Id. § 2(a), (c)(1). This Court has “exclusive jurisdiction

over any” petition for review challenging the Act. Id. § 3.

      In various congressional proceedings leading up to the Act’s passage,

members of the Executive Branch—including officials from the Office of the

Director for National Intelligence, the Department of Justice’s National Security

Division, and the Federal Bureau of Investigation—briefed members of Congress

on the national-security risks posed by TikTok’s operations in the United States

under the application’s current ownership structure. Those briefings included

several classified sessions, and one classified hearing. See H.R. Rep. 118-417, at

10-11 (2024) (summarizing various briefings provided by the Executive Branch

preceding the legislation’s enactment).

      2. Petitioners—TikTok and ByteDance, along with various U.S. users of the

TikTok application—filed petitions for review in this Court, challenging the

provisions of the Act that require ByteDance to divest its interest in TikTok as



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unconstitutional. Petitioners all claim that the divestment requirement violates the

First Amendment; the TikTok petitioners (TikTok and ByteDance) additionally

claim that the requirement is an unconstitutional Bill of Attainder and a taking

without just compensation in violation of the Fifth Amendment.

      The parties filed a joint scheduling motion to govern proceedings in this

Court. Joint Motion to Set Briefing and Oral Argument Schedule (May 17, 2024).

The parties agreed that, because the petitions invoke the Court’s original

jurisdiction, this case does not include a “district court or agency record”; so the

parties would “append evidentiary material to their briefs.” Id. at 3-4. The

government also informed the Court that it may “file an ex parte evidentiary

submission” to “support the national security justifications underlying” the Act,

and that it would “file the public version and any classified version of its brief by

the deadline set by the Court.” Id. at 4. The Court granted the parties’ joint motion,

and entered a briefing schedule directing the government file its response brief on

July 26, 2024. Order (May 28, 2024).1




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       Petitioner BASED Politics filed its petition on June 6, 2024; on the parties’
joint motion, this Court consolidated that case with the previously filed petitions,
largely preserving the parties’ previously agreed-to briefing schedule and format,
see Order (June 18, 2024).

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      Pursuant to the Court’s order, petitioners filed many declarations alongside

their opening briefs. See TikTok App. 643-834 (four declarations from the TikTok

petitioners); Firebaugh Addendum 8-80 (eight declarations from the Firebaugh

petitioners); BASED Addendum-007-015 (two declarations from BASED

petitioners). To defend the Act and to substantiate the Act’s national-security

justifications, the government has prepared three declarations from officials in the

Office of the Director for National Intelligence, the Department of Justice’s

National Security Division, and the Federal Bureau of Investigation. Those

declarations, and select portions of the response brief citing those declarations,

include classified information. But the majority of the brief, and substantial

portions of each declaration, are unclassified and are being filed on the public

record.

                                    ARGUMENT

 THE COURT SHOULD GRANT LEAVE TO FILE THE CLASSIFIED RESPONSE BRIEF
        AND CLASSIFIED DECLARATIONS UNDER SEAL AND EX PARTE

      Petitioners primarily argue that the Act’s requirement that ByteDance divest

its ownership interest in TikTok is unconstitutional, and, in particular, that the

requirement impermissibly burdens speech in violation of the First Amendment.

To defend the Act, the government’s response brief accordingly discusses the

compelling national-security interests that Congress relied upon—namely, threats

posed by the Chinese government’s potential control of TikTok—to demonstrate


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that the Act serves national-security interests and is appropriately tailored to those

interests. Those interests are substantiated, in part, by classified information in

three declarations from officials in the Office of the Director for National

Intelligence, the Department of Justice’s National Security Division, and the

Federal Bureau of Investigation. As noted, Executive Branch officials relied on

classified information when briefing members of Congress in several closed-door

sessions leading up to the Act’s passage. See H.R. Rep. 118-417, at 10-11.

      The government seeks leave to file the three classified declarations—as well

as a classified brief that relies on information in those declarations—under seal and

ex parte to avoid public disclosure of classified material. The government is also

filing public versions of the declarations and the brief, redacting all classified

material.

      1. The treatment and handling of classified information is governed by

federal law. See, e.g., Exec. Order No. 13,526, 75 Fed. Reg. 707 (Dec. 29, 2009).

Federal law prohibits the disclosure of classified information except to individuals

who have been cleared for access to the information by the head of a federal

agency or his designee; who have signed a nondisclosure agreement; and who have

“a need-to-know the information.” Id. § 4.1(a), 75 Fed. Reg. at 720. The

information at issue here is classified at the “Secret” and “Top Secret” levels. See

id. § 1.2(1), 75 Fed. Reg. at 707 (the unauthorized disclosure of “Top Secret”



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information could reasonably “be expected to cause exceptionally grave damage to

the national security”); id. § 1.2(2), 75 Fed. Reg. at 707-08 (the unauthorized

disclosure of “Secret” information could reasonably “be expected to cause serious

damage to the national security”).

        Accordingly, the classified portions of the declarations and the response

brief may not be disclosed to the public or to petitioners, who have not been

cleared for access to classified information and who do not have a “a need-to-know

the information,” under the governing authorities. Exec. Order No. 13,526,

§ 4.1(a), 75 Fed. Reg. at 720.

        2. This Court has repeatedly upheld filing materials under seal and ex parte

to protect classified information.

        In doing so, this Court has recognized that it “has inherent authority to

review classified material ex parte, in camera as part of its judicial review

function.” Olivares v. TSA, 819 F.3d 454, 462 (D.C. Cir. 2016) (quoting Jifry v.

FAA, 370 F.3d 1174, 1181-82 (D.C. Cir. 2004)). Indeed, this Court has upheld

agency determinations, even where critical portions of the administrative record

had been submitted ex parte and the petitioners were “without knowledge of the

specific evidence on which [the agency] relied,” rejecting petitioners’ arguments

that they were “unable to defend against” the agency’s decision. Jifry, 370 F.3d at

1184.



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      The Court also held that it need not consider alternative procedures, such as

disclosure under a protective order. “In light of the governmental interests at stake

and the sensitive security information, substitute procedural safeguards may be

impracticable, and in any event, are unnecessary under [this Court’s] precedent.”

Jifry, 370 F.3d at 1183; see also Busic v. TSA, 62 F.4th 547, 551 (D.C. Cir. 2023)

(rejecting the petitioners’ argument that the government must disclose the full

administrative record, which contained sensitive security information); General

Dynamics Corp. v. United States, 563 U.S. 478, 482 (2011) (discussing potential

harms resulting from inadvertent or unauthorized disclosures of state secrets).

      Thus, although the use of ex parte information is of course the exception

rather than the rule, this Court has rejected challenges to the Court’s reliance on an

ex parte record in a number of cases, where the record contained classified or

otherwise sensitive information. Jifry, 370 F.3d at 1181-82; see also Zevallos v.

Obama, 793 F.3d 106, 113, 117 (D.C. Cir. 2015); Ralls Corp. v. Committee on

Foreign Investment in the United States, 758 F.3d 296, 319 (D.C. Cir. 2014); Holy

Land Foundation v. Ashcroft, 333 F.3d 156, 164 (D.C. Cir. 2003); National

Council of Resistance of Iran v. Department of State, 251 F.3d 192, 208 (D.C. Cir.

2001). The same principles apply to permit filing a sealed ex parte brief that relies

upon classified information in the record. See, e.g., United States v. China Telecom




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(Americas) Corp., 55 F.4th 939 (D.C. Cir. 2022) (permitting the United States to

file a classified brief under seal and ex parte).

      Petitioners have no due process, statutory or regulatory right to access

classified information in the record.

      3. The appropriate officials within the Executive Branch have conducted a

review to ensure that the classified and unclassified information in the three

declarations and the response brief have been appropriately identified. Each

paragraph of the classified versions of the declarations and the brief are marked

with the classification level of the information contained in that paragraph, and the

government has reasonably segregated all unclassified information to be filed

publicly. The majority of the brief, and substantial portions of each declaration, are

unclassified and will be filed on the public record.

      4. To prevent the disclosure of classified information, the government thus

respectfully moves for leave to file under seal and ex parte for the Court’s in

camera review an unredacted, classified version of the three declarations from

Executive Branch officials, as well as an unredacted, classified version of the

response brief that relies on the information in those declarations. These filings

align with the Court’s briefing schedule—proposed and agreed to by the parties—

under which the government’s response brief is due on July 26, 2024. See Order

(May 28, 2024).



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      In addition to moving for leave to file sealed and ex parte declarations and

response brief, the government is also filing public, redacted versions of those

materials today, on the July 26 briefing deadline. And the government is lodging

four copies of both the unredacted, classified version of that brief and the

declarations with the Court, contemporaneous with this motion.

      5. If the Court denies this motion, in whole or in part, the government

respectfully requests that the Court return any lodged materials to the government.

In filing this motion, the government does not waive, and expressly reserves, all

applicable rights, privileges, and immunities.

      6. Petitioners have informed us that they oppose this motion.




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                                  CONCLUSION

      For the foregoing reasons, we respectfully request that the Court grant the

government leave to file its response brief and three declarations in this matter

under seal for the Court’s ex parte and in camera review.

                                              Respectfully submitted,

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                     CERTIFICATION OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I hereby certify this motion complies with

the requirements of Fed. R. App. P. 27(d)(1)(E) because it has been prepared in 14-

point Times New Roman, a proportionally spaced font, and that it complies with

the type-volume limitation of Fed. R. App. P. 27(d)(2)(A), because it contains

1806 words, according to the count of Microsoft Word.



                                             /s/ Sean R. Janda
                                            Sean R. Janda
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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 26, 2024, I electronically filed the foregoing

Motion to File Portions of the Response Brief and Three Declarations Under Seal

and Ex Parte with the Clerk of the Court through the appellate CM/ECF system.

Service was accomplished on registered counsel through the CM/ECF system.

Paper copies of the brief and the record materials will be lodged today with the

Court through the Court Information Security Officer.




                                               /s/ Sean R. Janda
                                              Sean R. Janda
